Case 2:24-cv-05205-FMO-MAA   Document 1-4   Filed 06/20/24   Page 1 of 10 Page ID
                                    #:67




     EXHIBIT D




                                                                        Exhibit D
                                                                         Page 67
Case 2:24-cv-05205-FMO-MAA               Document 1-4    Filed 06/20/24    Page 2 of 10 Page ID
                                                #:68




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       Attorneys for Defendant State Farm General
  16 Insurance Company

  17                           SUPERIOR COURT OF THE STATE OF CALIFORNIA
  18                           COUNTY OF LOS ANGELES, CENTRAL DISTRICT
  19 JACQUELYN “JACKIE” LACEY, in her                Case No. 24STCV12766
     individual capacity; and JACQUELYN
  20 “JACKIE” LACEY as trustee of the D and          DEFENDANT STATE FARM’S
     J Lacey Family Trust dated November 23,         ANSWER TO COMPLAINT
  21 20216,
                                                     Judge: Hon. Kristin S. Escalante
  22                     Plaintiffs,                 Dept.: 24
  23            v.                                   [Complaint Filed: 5/21/2024]
                                                     Trial Date:         Not Set
  24 STATE FARM GENERAL INSURANCE
       COMPANY, an Illinois corporation, and
  25 DOES 1-50, inclusive,
  26                     Defendants.
  27
  28

                                                  -1-                      Case No. 24STCV12766
       SMRH:4863-9472-5575.2                     DEFENDANT STATE FARM’S ANSWER TO COMPLAINT

                                                                                         Exhibit D
                                                                                          Page 68
Case 2:24-cv-05205-FMO-MAA               Document 1-4         Filed 06/20/24     Page 3 of 10 Page ID
                                                #:69




  1            Defendant State Farm General Insurance Company (“State Farm”) answers the
  2 Complaint of Plaintiff Jacquelyn “Jackie” Lacey, in her individual capacity and as Trustee

  3 of the D and J Lacey Family Trust (collectively, “Lacey”), dated November 23, 2016, as
  4 follows:
  5                                       GENERAL DENIAL
  6            Pursuant to the provisions of California Code of Civil Procedure §431.30, State Farm
  7 denies generally and specifically each and every allegation contained in the Complaint, and

  8 further denies that Lacey has been damaged in any sum at all, or in any manner at all, or is

  9 entitled to any relief whatsoever from State Farm.

 10                                             DEFENSES
 11            As separate defenses to the Complaint, State Farm alleges, on information and belief,
 12 the following defenses. By alleging the following defenses, State Farm does not assume any

 13 burden of production, proof or persuasion as to such defenses not otherwise imposed by law.

 14 State Farm reserves the right to allege additional defenses as warranted by discovery:
 15                                         FIRST DEFENSE
 16                                (Failure to State a Cause of Action)
 17            The Complaint, and each purported cause of action therein, fails to state facts
 18 sufficient to constitute a cause of action upon which relief can be granted.

 19                                        SECOND DEFENSE
 20                                   (California Civil Code § 2860)
 21            The gravamen of Lacey’s claims center on a dispute regarding the amount paid by
 22 State Farm for independent counsel or Cumis fees arising from or related to the defense of
 23 David Lacey in an underlying action titled Abdullah et al. v. Lacey et al., Los Angeles
 24 Superior Court Case No. 24STCV12766 (the “Abdullah Action”), which dispute is governed

 25 by Civil Code section 2860 and subject to binding arbitration.
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                                                     -2-                        Case No. 24STCV12766
      SMRH:4863-9472-5575.2                                DEFENDANT STATE’S ANSWER TO COMPLAINT

                                                                                                 Exhibit D
                                                                                                  Page 69
Case 2:24-cv-05205-FMO-MAA               Document 1-4         Filed 06/20/24      Page 4 of 10 Page ID
                                                #:70




  1                                         THIRD DEFENSE
  2                                            (Policy Terms)
  3            The claims are barred, in whole or in part, to the extent they fall outside the scope
  4 of coverage under Lacey’s Homeowners’ Policy No. 71-C7-M007-7 and/or Umbrella
  5 Policy No. 71-GB-A528-2 (collectively, the “Policies”), and/or are barred by the terms,

  6 provisions, limitations, conditions, and/or exclusions of the Policies.
  7                                        FOURTH DEFENSE
  8                            (Breach of Policy Terms and/or Conditions)
  9            The Complaint, and each purported cause of action therein, is barred and/or limited
 10 to the extent Lacey or any insured, acting individually or through counsel, breached the

 11 terms and conditions of the Policies including, but not limited to, the cooperation clause
 12 contained in the Policies.

 13                                          FIFTH DEFENSE
 14                                        (Failure to Mitigate)
 15            The Complaint, and each purported claim for relief therein, is barred to the extent
 16 that Lacey or any insured has failed to mitigate their damages, if any, alleged or otherwise,

 17 and are therefore estopped from making or pursuing any claim thereon.

 18                                         SIXTH DEFENSE
 19                                       (Statute of Limitations)
 20            The Complaint, and each purported cause of action therein, is barred to the extent
 21 that it contains claims precluded, in whole or in part, by the applicable statute of

 22 limitations, including but not limited to California Code of Civil Procedures sections 337,
 23 338, 339, 340, and 343.
 24                                       SEVENTH DEFENSE
 25                                              (Standing)
 26            The Complaint, and each purported cause of action therein, is barred to the extent
 27 Lacey lacks standing to assert any such cause of action or claim.
 28

                                                     -3-                        Case No. 24STCV12766
      SMRH:4863-9472-5575.2                                DEFENDANT STATE’S ANSWER TO COMPLAINT

                                                                                                 Exhibit D
                                                                                                  Page 70
Case 2:24-cv-05205-FMO-MAA              Document 1-4         Filed 06/20/24     Page 5 of 10 Page ID
                                               #:71




  1                                       EIGHTH DEFENSE
  2                                              (Waiver)
  3            The Complaint, and each purported cause of action therein, is barred to the extent
  4 that Lacey or any insured, by their actions, knowingly, voluntarily, and willingly, waived
  5 any rights they may otherwise have had against State Farm.

  6                                        NINTH DEFENSE
  7                                             (Estoppel)
  8            The Complaint, and each purported cause of action therein, is barred to the extent
  9 that Lacey or any insured is estopped to assert the claims set forth in the Complaint.

 10                                        TENTH DEFENSE
 11                                           (Due Process)
 12            An award of punitive damages greater than that of compensatory damages would
 13 violate State Farm’s rights to due process under both the United States Constitution and the

 14 California Constitution.
 15                                     ELEVENTH DEFENSE
 16                                           (Due Process)
 17            Any award of punitive damages based on anything other than State Farm’s conduct
 18 specific to this lawsuit and/or Lacey would violate the due process clause of the Fourteenth

 19 Amendment to the United States Constitution and the California Constitution, because any
 20 other judgment for punitive damages in this case cannot protect State Farm against

 21 impermissible multiple punishment for the same alleged wrong.

 22                                      TWELFTH DEFENSE
 23                                           (Due Process)
 24            Unless both liability for punitive damages and the appropriate amount of punitive
 25 damages are required to be established by clear and convincing evidence, any award of
 26 punitive damages would violate due process rights guaranteed by the Fourteenth

 27 Amendment to the United States Constitution and the California Constitution.
 28

                                                    -4-                        Case No. 24STCV12766
      SMRH:4863-9472-5575.2                               DEFENDANT STATE’S ANSWER TO COMPLAINT

                                                                                               Exhibit D
                                                                                                Page 71
Case 2:24-cv-05205-FMO-MAA                Document 1-4         Filed 06/20/24     Page 6 of 10 Page ID
                                                 #:72




  1                                      THIRTEENTH DEFENSE
  2                                            (Offset / Credit)
  3            In the event there is a finding of damages for Lacey, such damages must be offset to
  4 the extent Lacey or any insured received monetary benefits from State Farm and/or
  5 collateral sources and/or by the amounts they owe to State Farm and/or the credits/offsets

  6 to which State Farm is entitled.
  7                                      FOURTEENTH DEFENSE
  8                                       (Justification / Privileged)
  9            State Farm’s alleged conduct was justified and/or privileged under applicable law,
 10 including but not limited to Civil Code section 47. As a result, Lacey fails to state facts

 11 upon which relief may be granted.
 12

 13                                    RESERVATION OF RIGHTS
 14            State Farm is informed and believes and thereupon alleges that it may have other
 15 separate and additional defenses of which it is presently unaware; State Farm reserves the

 16 right to allege other separate and additional defenses upon the discovery of additional facts

 17 during the course of discovery.

 18            WHEREFORE, State Farm prays for judgment as follows:
 19            1.       That Lacey takes nothing by reason of the Complaint or any pleading on file
 20                     herein;
 21            2.       For costs recoverable under applicable law; and
 22            3.       For such other and further relief as the Court may deem just and proper.
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                                                      -5-                        Case No. 24STCV12766
      SMRH:4863-9472-5575.2                                 DEFENDANT STATE’S ANSWER TO COMPLAINT

                                                                                                   Exhibit D
                                                                                                    Page 72
Case 2:24-cv-05205-FMO-MAA     Document 1-4     Filed 06/20/24     Page 7 of 10 Page ID
                                      #:73




   1 Dated: June 18, 2024
   2                            SHEPPARD, MULLIN, RICHTER & HAMPTON LLP
   3
   4
                                By
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                                                   JEFFREY S. CROWE
   6
                                                  ANDREA S. WARREN
   7
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   8                                                Insurance Company
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                                        -6-                        Case No. 24STCV12766
       SMRH:4863-9472-5575.2                  DEFENDANT STATE’S ANSWER TO COMPLAINT

                                                                                 Exhibit D
                                                                                  Page 73
Case 2:24-cv-05205-FMO-MAA               Document 1-4   Filed 06/20/24    Page 8 of 10 Page ID
                                                #:74




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       Attorneys for Defendant State Farm General
  16 Insurance Company

  17                           SUPERIOR COURT OF THE STATE OF CALIFORNIA
  18                           COUNTY OF LOS ANGELES, CENTRAL DISTRICT
  19 JACQUELYN “JACKIE” LACEY, in her               Case No. 24STCV12766
     individual capacity; and JACQUELYN
  20 “JACKIE” LACEY as trustee of the D and         PROOF OF SERVICE
     J Lacey Family Trust dated November 23,
  21 20216,                                         Judge: Hon. Kristin S. Escalante
                                                    Dept.: 24
  22                     Plaintiffs,
                                                    [Complaint Filed: 5/21/2024]
  23            v.                                  Trial Date:         Not Set
  24 STATE FARM GENERAL INSURANCE
       COMPANY, an Illinois corporation, and
  25 DOES 1-50, inclusive,
  26                     Defendants.
  27
  28

                                                  -1-                       Case No. 24STCV12766
       SMRH:4860-0752-7113.1                                                 PROOF OF SERVICE

                                                                                         Exhibit D
                                                                                          Page 74
Case 2:24-cv-05205-FMO-MAA                 Document 1-4          Filed 06/20/24       Page 9 of 10 Page ID
                                                  #:75




  1            I, the undersigned, declare under penalty of perjury that I am, and was at the time of service
  2 of the papers herein referred to, over the age of eighteen years and not a party to the action; and I

  3 am employed in the County of San Diego, State of California, in which county the within-mentioned
  4 service occurred. My business address is 501 West Broadway, 18th Floor, San Diego, California
  5 92101.

  6            On June 18, 2024, I served a copy of the following document(s):

  7            DEFENDANT STATE FARM’S ANSWER TO COMPLAINT
  8           BY MAIL: I enclosed the document(s) in a sealed envelope or package addressed to the
               persons at the addresses listed in the Service List and placed the envelope for collection and
  9            mailing, following our ordinary business practices. I am readily familiar with the firm's
               practice for collecting and processing correspondence for mailing. On the same day that the
 10            correspondence is placed for collection and mailing, it is deposited in the ordinary course of
               business with the United States Postal Service, in a sealed envelope with postage fully
 11            prepaid.

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 26

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                                                        -2-                            Case No. 24STCV12766
      SMRH:4860-0752-7113.1                                                             PROOF OF SERVICE

                                                                                                       Exhibit D
                                                                                                        Page 75
Case 2:24-cv-05205-FMO-MAA                 Document 1-4          Filed 06/20/24        Page 10 of 10 Page
                                                ID #:76




  1            I declare under penalty of perjury under the laws of the State of California that the
  2 foregoing is true and correct.

  3            Executed on June 18, 2024, at San Diego, California.
  4
  5
                                                                       CRISTINA L. CONROY
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                                                        -3-                             Case No. 24STCV12766
      SMRH:4860-0752-7113.1                                                              PROOF OF SERVICE

                                                                                                       Exhibit D
                                                                                                        Page 76
